        Case 4:12-cr-00041-JM       Document 414        Filed 08/30/16     Page 1 of 1




                      IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS
                               WESTERN DIVISION

UNITED STATES OF AMERICA                                                            PLAINTIFF

v.                                  NO. 4:12CR00041-03 JLH

REBECCA LUCILLE SPRAY                                                            DEFENDANT

                                           ORDER

       Pending before the Court is the government’s motion for revocation of defendant Rebecca

Lucille Spray’s supervised release. Document #407. The government has also requested that a

summons be issued for defendant.

       IT IS HEREBY ORDERED that a hearing on the government’s motion to revoke is

scheduled to begin on TUESDAY, SEPTEMBER 13, 2016, at 2:15 P.M., in Courtroom #4-D,

Richard Sheppard Arnold United States Courthouse, 500 West Capitol Avenue, Little Rock,

Arkansas, to show cause why defendant’s supervised release should not be revoked.

       The request for issuance of summons is granted. The Clerk of Court is directed to issue a

summons for defendant REBECCA LUCILLE SPRAY and deliver to the United States Marshal

for service.

       IT IS SO ORDERED this 30th day of August, 2016.




                                                   _________________________________
                                                   J. LEON HOLMES
                                                   UNITED STATES DISTRICT JUDGE
